                                                 State of Wisconsin
                                                  Department of Corrections
                                   INMATE COMPLAINT HISTORY REPORT
                                                      by Date Received
                                              Inmate: 579750 - WELCH, JUSTIN P.

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   Received Date         Complaint Number         Subject               Brief Summary
     11/29/2013          WRC-2013-23095          12 - Other             Captain asked to see inmate "legal discovery".
     11/29/2013          WRC-2013-23100          10 - Work & School     I/m complains that he is not receiving the treatment that
                                                 Programs               he was sent to WRC for.
     01/27/2014          WCI-2014-2137           7 - Personal           Complains about missing envelopes
                                                 Property
     02/03/2014          WCI-2014-2389           3 - Discipline         ***Complaints regarding C/R 2401244
     02/19/2014          WCI-2014-4073           7 - Personal           Claims that WCI lost his shower shoes.
                                                 Property
     02/19/2014          WCI-2014-3637           4 - Medical            ***Complains about paying a copay
     03/11/2014          WRC-2014-5010           3 - Discipline     The inmate wants PCS Molitor to give him his copy of a
                                                                    conduct report decision back.
     03/21/2014          WRC-2014-5761           2 - Correspondence The inmate wants a letter returned to him that he was
                                                 & Publications     sending out of the institution to someone.
     04/10/2014          WRC-2014-7257           25 - Psychology    I/m states that he will commit suicide upon return to WCI.
     04/10/2014          WRC-2014-7152           15 - ICRS              Not satisfied with decision on earlier complaint.
     05/22/2014          WCI-2014-10056          25 - Psychology        ***Claims that he was denied treatment
     06/04/2014          WCI-2014-10846          1 - Staff              Complains regarding CO Brockman
     06/25/2014          WCI-2014-12314          25 - Psychology        ***Claims that because he did not receive treatment he
                                                                        tried to commit suicide
     06/25/2014          WCI-2014-12368          14 - Classification    ***Complains that he was transferred back to WCI
     07/03/2014          WCI-2014-12993          25 - Psychology        Alleges inadequate M/H Treatment on the part of Mr.
                                                                        Ludvigson.
     07/23/2014          WCI-2014-14344          4 - Medical            Complains that he is not happy with the care he received
                                                                        from HSU
     08/21/2014          WCI-2014-16525          25 - Psychology        Claims he did not receive his OBS reports
     08/25/2014          WCI-2014-16704          7 - Personal           Complains regarding missing property
                                                 Property
     08/25/2014          WCI-2014-16707          1 - Staff              Complains regarding CO Gill looking in his mouth
     02/04/2015          WCI-2015-2351           4 - Medical            Complains regarding copay
     03/13/2015          WCI-2015-4749           7 - Personal           Complains regarding his contraband markers
                                                 Property
     04/29/2015          WCI-2015-7910           2 - Correspondence     Complains regarding a contraband book
                                                 & Publications
     05/26/2015          WCI-2015-9394           19 - Confidentiality   Claims Mr Ludvigson violated Hippa
                                                 of & Access to
                                                 Protected Health
                                                 Information
     06/26/2015          WCI-2015-11456          17 - Inmate            Complains that his disbursement was not signed
                                                 Accounts
     07/15/2015          WCI-2015-12773          3 - Discipline         ***Complains regarding conduct report 2639569.
     10/06/2015          WCI-2015-18669          1 - Staff              ***Claims Sgt Klemmer looked at him hostile
     10/19/2015          WCI-2015-19454          4 - Medical            Claims a test was ordered and not given
     10/27/2015          WCI-2015-20040          1 - Staff              ***Complains that CO Noe did not pick up his mail
     11/20/2015          WCI-2015-21812          7 - Personal           Claims his dictionary is missing
                                                 Property
Print Date: January 02, 2024                                 Page 1 of 4
                                                      ** ICRS CONFIDENTIAL **




                                                                       EXHIBIT
                 Case 2:23-cv-01430-WED Filed 03/25/24 Page 1 of 4 Document     1013 - 1
                                                                            32-14
                                                 State of Wisconsin
                                                  Department of Corrections
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     12/11/2015          WCI-2015-23225          1 - Staff             Claims hobby wouldn't send a letter with his contraband
     12/11/2015          WCI-2015-23226          7 - Personal          Claims hobby destroyed his drawing
                                                 Property
     02/16/2016          WCI-2016-3352           7 - Personal          Complains regarding contraband photo album
                                                 Property
     02/16/2016          WCI-2016-3353           2 - Correspondence    ***Claims legal mail was not open in front of him
                                                 & Publications
     03/10/2016          WCI-2016-5143           12 - Other            ***Complains regarding not getting a receipt
     03/24/2016          WCI-2016-6199           8 - Rules            Complains regarding 303.00.02(2)(c)(5) not being
                                                                      adhered to
     06/24/2016          CCI-2016-13383          7 - Personal         07 Alleges his Fila sentinel EVO Running shoes are
                                                 Property             missing from Waupun.
     08/11/2016          CCI-2016-17161          2 - Correspondence 02 Alleges issue with denied book "Tattoo Sourcebook".
                                                 & Publications
     08/15/2016          CCI-2016-17638          7 - Personal         07 Alleges during lockdown on HU/4 that staff damaged
                                                 Property             some of his photos.
     09/19/2016          CCI-2016-20416          4 - Medical          04 Alleges he fell in the shower over a month ago and
                                                                      still has not seen the doctor.
     10/18/2016          CCI-2016-22759          25 - Psychology      25 *** Alleges Lt. Anderson & Dr. Frisch did not act by
                                                                      putting him in OBS after his statements of self harm.
     12/14/2016          CCI-2016-27863          7 - Personal         07 Alleges his TV stand was damaged.
                                                 Property
     12/19/2016          CCI-2016-28544          7 - Personal         07 Alleges his L-adapter was damaged.
                                                 Property
     07/14/2017          CCI-2017-17865          19 - Confidentiality 19 Alleges HIPPA violation by Dr. Schwenn.
                                                 of & Access to
                                                 Protected Health
                                                 Information
     07/26/2017          CCI-2017-18941          6 - Personal         06 Alleges he is concerned with a future cell mate.
                                                 Physical Conditions
     07/31/2017          CCI-2017-19371          4 - Medical          04 Alleges excessive amount of time to see the doctor in
                                                                      HSU.
     08/04/2017          CCI-2017-19781          8 - Rules            08 Alleges issue with RH2 rule regarding yelling out cell
                                                                      window into the courtyard will not be tolerated resulting
                                                                      with window(s) being closed.
     08/09/2017          CCI-2017-20256          1 - Staff            01 Alleges staff were not reacting to his yelling on 8/2/17
                                                                      around 8:40 a.m.
     08/09/2017          CCI-2017-20254          7 - Personal         07 Alleges maintenance staff damaged his new tv.
                                                 Property
     09/13/2017          CCI-2017-23463          7 - Personal         07 Alleges clear tunes antenna damaged outside of
                                                 Property             inmates possession on 9/11/17.
     10/23/2017          CCI-2017-27153          25 - Psychology      25 Complains his mental health diagnosis was changed.
     07/23/2018          CCI-2018-15753          1 - Staff             01 Alleges Mr. Weber & Lt. Giroux are not responding
                                                                       back to him about his complaints regarding CO Lind.
     07/23/2018          CCI-2018-15750          7 - Personal          07 Alleges Honda fan was not sent back to Union
                                                 Property              supply.
     07/30/2018          CCI-2018-16254          22 - Dental           22 Alleges he has been waiting over 4 months past his
                                                                       annual time for an exam and teeth cleaning.
Print Date: January 02, 2024                                 Page 2 of 4
                                                      ** ICRS CONFIDENTIAL **




                                                                       EXHIBIT
                 Case 2:23-cv-01430-WED Filed 03/25/24 Page 2 of 4 Document     1013 - 2
                                                                            32-14
                                                 State of Wisconsin
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     08/06/2018          CCI-2018-16783          6 - Personal          06 Inmate complains that dayroom windows in RH2 are
                                                 Physical Conditions   not closed.
     08/30/2018          CCI-2018-18627          7 - Personal          07 Complains a leaky roof damaged his property.
                                                 Property
     09/28/2018          CCI-2018-20625          1 - Staff           01 Alleges staff gave him the wrong medication on
                                                                     9/23/18 at bedtime.
     11/07/2018          CCI-2018-23248          2 - Correspondence 02 ***Alleges he was charged $14.00 to send a small
                                                 & Publications      package to his mom. Also states that it could not have
                                                                     weighed any more than 4 oz.
     12/26/2018          CCI-2018-26292          7 - Personal        07 Alleges his TV was damaged by staff during cell
                                                 Property            search on 12/23/18 2:00 p.m.; he wants to send TV out
                                                                     to be fixed.
     04/22/2019          CCI-2019-7432           3 - Discipline      03 ***Alleges he was not offered the right to send his
                                                                     radio out to family or repairs; only to dispose of the radio
                                                                     re: CR# 12527.
     12/17/2019          CCI-2019-21829          2 - Correspondence 02 Alleges his large legal manilla envelope from 12/3/19
                                                 & Publications      was not mailed out.
     12/26/2019          CCI-2019-22339          10 - Work & School 10 Alleges issue being removed from his job.
                                                 Programs
     02/19/2020          CCI-2020-3343           14 - Classification 14 Alleges social worker K. Strese lied on PRC
                                                                     paperwork.
     05/19/2020          CCI-2020-8684           10 - Work & School 10 Stating he was fired and is not being hired for a new
                                                 Programs            job.
     10/07/2020          CCI-2020-17420          12 - Other          12 Alleges his transfer to DCI for his safety is being
                                                                     stopped.
     10/07/2020          CCI-2020-17423          12 - Other          12 Issue, not being transferred to DCI for his safety like
                                                                     Captain Pitzen and PRC Ms. Davis said he would be.
                                                                     Requesting transfer to DCI or out of state.
     10/19/2020          CCI-2020-18195          12 - Other          12 Requesting either he be able to get his job back or
                                                                     just keep getting his pay and stay on HU/7.
     05/03/2021          CCI-2021-6885           1 - Staff           01 Alleges issue what Mr. Glass wrote on DOC-1408.
     04/21/2022          CCI-2022-6370           1 - Staff             01 Alleges he is being targeted by Sergeant Cascadden.
     05/16/2022          CCI-2022-7619           12 - Other            12 Complains that he is the only laundry worker that
                                                                       needs a tier escort.
     05/24/2022          CCI-2022-8022           12 - Other            12 Alleges issue that recently an email by IWOC was
                                                                       allowed in the institution.
     07/11/2022          CCI-2022-10379          1 - Staff             01 ***Alleges on 7/3/22 Sergeant Cascadden allowed an
                                                                       inmate who tested positive for covid, out of his cell to
                                                                       work.
     07/27/2022          CCI-2022-11298          1 - Staff             24 Alleges staff misconduct on behalf of CO Thoa on
                                                                       7/21/22 after 4 p.m. count.
     08/16/2022          CCI-2022-12336          3 - Discipline        03 Issue with CR# 274614.
     08/25/2022          CCI-2022-12837          3 - Discipline        03 ***Not happy with decision from Warden to appeal
                                                                       CR# 274614.
     08/30/2022          CCI-2022-13126          7 - Personal          07 His stamps are missing from his property.
                                                 Property
     09/19/2022          CCI-2022-14113          12 - Other            12 ***Alleges he is being set up by the Warden to be
                                                                       jumped on HU/2 by inmates.
Print Date: January 02, 2024                                 Page 3 of 4
                                                      ** ICRS CONFIDENTIAL **




                                                                       EXHIBIT
                 Case 2:23-cv-01430-WED Filed 03/25/24 Page 3 of 4 Document     1013 - 3
                                                                            32-14
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     10/12/2022          CCI-2022-15422          12 - Other            12 Alleges inmate went to his rec time with SPN in place
                                                                       on 9/23/22.
     10/24/2022          CCI-2022-15954          3 - Discipline        03 Alleges violation of due process with CR# 284915.
     11/03/2022          CCI-2022-16523          14 - Classification   14 Issue with correction of the PRC paperwork and the
                                                                       record.
     11/11/2022          WCI-2022-17007          7 - Personal          Complains regarding contraband deodorants
                                                 Property
     11/15/2022          WCI-2022-17137          7 - Personal          Claims property is missing after his transfer
                                                 Property
     01/11/2023          WCI-2023-533            4 - Medical           Complains HSU is not seeing him for a spider bite
     06/05/2023          WCI-2023-8259           12 - Other            complains he was denied recreation on 6/1
     06/15/2023          WCI-2023-8798           6 - Personal        claims staff shut off the cell ventalation
                                                 Physical Conditions
                                                      *** End of Report ***




Print Date: January 02, 2024                                 Page 4 of 4
                                                      ** ICRS CONFIDENTIAL **




                                                                       EXHIBIT
                 Case 2:23-cv-01430-WED Filed 03/25/24 Page 4 of 4 Document     1013 - 4
                                                                            32-14
